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            EXHIBIT A-34
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            DISTRICT OF COLUMBIA COURT OF APPEALS
            BOARD ON PROFESSIONAL RESPONSIBILITY                         Aug 29 2022 3:01pm



                                  Under Seal

In the Matter of

JEFFREY B. CLARK                               Disciplinary Docket No.
                                               2021-D193
A Member of the Bar of the District
of Columbia Court of Appeals

Bar No. 455315

Date of Admission: July 7, 1997



     REQUEST FOR DEFERRAL UNDER BOARD RULE 4.2


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              DISTRICT OF COLUMBIA COURT OF APPEALS
              BOARD ON PROFESSIONAL RESPONSIBILITY

 In the Matter of

 JEFFREY B. CLARK                                  Disciplinary Docket No.
                                                   2021-D193
 A Member of the Bar of the District
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 Date of Admission: July 7, 1997

      REQUEST FOR DEFERRAL UNDER BOARD RULE 4.2

      Pursuant to Section 4.2 of the Rules of the Board of Professional

Responsibility (“Board Rule”), Respondent hereby moves to defer proceedings on the

Specification of Charges filed by the Office of Disciplinary Counsel on July 19, 2022

in light of the pendency of related civil investigations, quasi-criminal litigation, and

two other separate criminal investigations. Disciplinary Counsel has pre-emptively

indicated his opposition to this request before the topic was even raised with him.

                                INTRODUCTION

       Board Rule 4.2 authorizes a party to disciplinary proceedings to request a

 deferral of a disciplinary case based on the pendency of either a related ongoing

 criminal and civil investigations or related pending criminal litigation. In this

 case, the request for deferral is based on (1)



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       1 (2) a related ongoing federal criminal investigation; (3) the related ongoing


 investigation of the January 6 Committee; and (4) the related ongoing

 investigation by a Special Purpose Grand Jury in Fulton County, Georgia.

        As will be shown, there is substantial overlap between the issues in this

 case and the issues in these other proceedings. Deferring this case to allow the

 overlapping issues to first be resolved in these other proceedings, which have

 jurisdictional priority over this forum, will be materially helpful to these

 proceedings. First, because

                                                                                           and

 second, because the other proceedings will resolve or shed light on other disputed

 factual and legal questions in a way that will help this forum avoid conflicting or

 erroneous findings and conclusions that improperly infringe on the separation of

 powers and Respondent’s individual constitutional rights.

                         PROCEDURAL BACKGROUND



                                                                                                 ,



1 Bar disciplinary proceedings are referred to as being quasi-criminal in nature. See, e.g., In re
Benjamin, 696 A.2d 434, 439 n.8 (D.C. 1997).




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                                                                                       Nor did

Mr. Clark participate in any proceedings held by the Senate Judiciary Committee

because, inter alia, a majority of the Committee’s members did not issue him a

subpoena.




2 Quasi-judicial notice can be taken of how ODC has proceeded in this case versus the very
different and lenient treatment of former FBI lawyer Kevin Clinesmith. Mr. Clinesmith pleaded
guilty. On Mr. Clark’s behalf, and by contrast, we maintain that Mr. Clark has done nothing wrong
and there has certainly been no adjudication to the contrary.


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                               ODC filed the pending Specification of Charges on

July 19, 2022. ODC attempted to serve Respondent via a process server on July 20,

which was the day before the January 6 Committee’s most recent prime-time hearing

on July 21, 2022. No attempt was made to arrange service through counsel as had

been done with the second subpoena. Due to the lack of any attempt at cooperative


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service, the seemingly independent process server apparently could not find

Respondent at home because he was working at his new job in the District. ODC

emailed counsel for Respondent on July 21 inquiring about service and lodging an

unfounded accusation that Respondent was evading service, which was both false

and ridiculous. Service was quickly arranged by agreement and was received

voluntarily first thing on the morning of July 22, 2022. Within an hour of service

being made, ODC sent a blast email to a half-dozen national reporters with copies

of the Charges.3

       After filing the public Charges with the Board, Respondent moved to recuse

Board Member and former Board Chair Matthew Kaiser (that issue and its impact

remain pending). Respondent also sought a three-week extension of time to respond

to the Charges, which ODC opposed. An extension was granted until September 1,

2022. Most of those filings before the Board have been under seal

                                                                                       .




3 A copy of this email to reporters was attached as Exhibit A to



Incorporated Motion to Seal, filed with the Board August 16, 2022.

Additionally, the way ODC is proceeding with reporters is troubling and raises the prospect that
ODC is aiming to adjudicate this case in the press, which is generally improper and especially
improper when questions swirl




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BOARD RULE 4.2 PROCEDURE AND STANDARD OF REVIEW

      Under Board Rule 4.2, a request for deferral and any opposition thereto is

submitted to the Chair of the Hearing Committee to which the case is assigned.

The Chair then submits the request and any opposition thereto to the Chair of the

Board along with their recommendation. The Board Chair then rules on the

request under the standards in Board Rule 4.1.

      Under Board Rule 4.1, deferral may be ordered based on related ongoing

criminal investigations or civil litigation “when there is a substantial likelihood

that the resolution of the related investigation or litigation will help to resolve

material issues involved in the pending disciplinary matter.”

      As set forth below, this standard is met in this case as to both

                 and the related federal and state criminal investigations and the

related congressional investigation.




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                                  ARGUMENT
      As a general matter, whether the “resolution of the related investigation or

litigation will help resolve the material issues involved in the pending disciplinary

matter” depends on the extent to which they overlap and involve the same factual or

legal issues. The standard is analogous but not identical to that of Stebbins v.

Stebbins, 673 A.2d 184, 189 (D.C. 1996), which addresses whether proceedings in

a trial court are precluded pending an appeal in the same case.




      As will be explained further below,




      In addition, as also explained below, there is also a substantial overlap

between the pending criminal investigation and the Charges filed against

Respondent, the pending investigation of the House Select January 6 Committee,



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and the investigation of a Special Grand Jury in Fulton County Georgia.

      Based on the overlapping issues                                     the pending

criminal investigation, deferral is warranted under Board Rule 4.2.

      I.     OVERLAPPING ISSUES IN PENDING LITIGATION AND IN
             PENDING CRIMINAL AND CONGRESSIONAL
             INVESTIGATIONS SHOULD BE RESOLVED BEFORE
             PROCEEDING WITH THE CHARGES AND INDEED ALL
             PROCEEDINGS SHOULD BE SUSPENDED AT THIS TIME.

       The factual and legal issues presented by the Charges, and by Respondent’s

 defenses to those Charges, overlap substantially with the pending case before (i)

             (ii) a pending federal criminal investigation, (iii) the pending January

6 Committee investigation, and (iv) a pending Special Grand Jury investigation

in Fulton County, Georgia. Allowing those matters to conclude first will or may

 resolve important factual and legal issues in this case and prove materially helpful

 to reaching the appropriate result on the pending Charges. In particular, the Board

 and its Hearing Committee




       This motion for deferral presents the reasoning as to why deferral should

 be granted as a matter of prudence. It should be construed to be without prejudice

 to Respondent’s argument that




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 N.B. Additionally,




    A.                        S
            E         A




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Morfessis v. Hollywood Credit Clothing Co., 163 A.2d 825, 827 (D.C.




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       The subject matter jurisdiction arguments                      . They rest on

 constitutional, statutory, and administrative law principles. The constitutional

 grounds are applicable because (1) the Supremacy Clause (U.S. Const. art. VI)

 gives operation of the three branches of the federal government and the

 constitutional separation of powers doctrine primacy over D.C.’s home rule, and

 (2) because Rule XI § 8(a) of the Rules Governing the District of Columbia Bar

 incorporates into all Disciplinary Counsel proceedings any constitutional

 limitations that may apply.

      The conduct described in the Charges describes consultations by the President

of the United States with his most senior Senate-confirmed legal advisors in the

Department of Justice in the discharge of his core Article II authorities over federal

law enforcement.

      Under the U.S. Constitution, the President of the United States, not the

Attorney General, is its chief law enforcement officer. See U.S. Const., art. II, § 3

(the President “shall take Care that the Laws be faithfully executed ….”). The

President’s constitutional responsibility for seeing that the laws be faithfully

executed, carry with it, as a matter of settled law, “illimitable” discretion to remove

principal officers carrying out his Executive functions. See Free Enterprise Fund v.

PCAOB, 561 U.S. 477, 493 (2010). The Constitution vests all Federal law

enforcement power, and hence prosecutorial discretion, in the President. The


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President’s discretion in these areas has long been considered “absolute,” and his

decisions exercising this discretion are presumed to be regular and are generally

deemed non-reviewable. See, e.g., United States v. Armstrong, 517 U.S. 456, 464

(1996); United States v. Nixon, 418 U.S. 683, 693 (1974); see generally S. Prakash,

The Chief Prosecutor, 73 GEO. WASH. L. REV. 521 (2005). The Attorney General

and other DOJ lawyers such as the Respondent exercised discretion delegated to

them by the President subject to his supervision. They are “the hand” of the President

for the discharge of these authorities. Ponzi v. Fessenden, 258 U.S. 254, 262 (1922).

When so acting they consequently enjoy the same protection.

      .To assist the President in the discharge of these authorities and

responsibilities, he has the right to receive full and frank advice and information

from his advisors. The Opinion Clause imposes on senior federal officers like

Respondent a reciprocal duty to provide such advice upon request. See U.S. Const.,

art. II, § 2, cl. 1 (Opinion Clause); 28 U.S.C. § 506 (Assistant Attorney Generals,

like Mr. Clark, to be appointed by President with advice and consent of Senate);

OLC Opinion, State Bar Disciplinary Rules as Applied to Federal Government

Attorneys (Aug. 2, 1985) (“Rules promulgated by state courts or bar associations

that are inconsistent with the requirements or exigencies of federal service may

violate the Supremacy Clause.”), available at https://tinyurl.com/56bft7sb, last

visited (Aug. 27, 2022).


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      This is not a situation in which Respondent entered an appearance before a

Court and misrepresented some fact at oral argument. This is a case that attempts to

peel back the curtain of the Executive Branch and second guess its confidential

internal deliberations at the highest level—among the senior-most officials of DOJ

and directly with the President himself in the Oval Office regarding how to carry out

the President’s core authorities under Article II. For a State to try to do that would

be a constitutionally unthinkable violation of federalism and, if the State were

purportedly acting pursuant to congressional statute, to the separation of powers too.

For a city government to try to do so (even one that Congress sometimes treats as if

it were a State, like D.C.—though Congress did not do so here) is even more

unthinkable and a patent violation of the separation of powers because the authority

of the DCCA and hence the Board descends from Congress’s Article I lawmaking

powers.

      The statutory arguments                          . The statute Congress passed

purporting to subject Justice Department lawyers to state and local bar rules, 28

U.S.C. § 530B(a), provides that “[a]n attorney for the Government shall be subject

to State laws and rules, and local Federal court rules, governing attorneys in each

State where such attorney engages in that attorney’s duties, to the same extent and

in the same manner as other attorneys in that State.” (emphasis added). The District

of Columbia is not a “State.” All law in the District is federal law and Congress alone


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defines the nature, scope, and means of enforcement of all federal powers exercised

here, including that of the D.C. Bar. U.S. Const., art. I, § 8, cl. 17 (“Seat of the

Government”). Specific language is ordinarily required to treat the District as if it

were a State. See, e.g., District of Columbia v. Carter, 409 U.S. 418, 432-33 (1973)

(D.C. not a State for purposes of 42 U.S.C. § 1983, with the statute later being

amended to treat D.C. as a State). The United States Code is replete with examples

where Congress has specifically defined D.C. to fall within the meaning of the term

“State,” but only for purposes of that particular statute.4 Indeed, by contrast, Chapter

31 of part II of title 28 of the United States Code (where 28 U.S.C. § 530B is found)

lacks any specialized definition section. Congress surely knows how to confer power

on District authorities when it wants to. And it expressly withheld such power here.

       The administrative law arguments                               . In 1999, as a matter of

administrative law, DOJ by regulation issued under Section 530(B)(b) improperly

purported to extend the reach of Section 530B(a) to the District of Columbia. See 28

C.F.R. § 77.2(h).

       But a federal agency cannot extend to the District in a regulation a power not



4 See, e.g., 28 U.S.C. § 1257(b) (“For the purposes of this section, the term ‘highest court of a
State’ includes the District of Columbia Court of Appeals.”); 42 U.S.C. § 8285a(2) (“the term
‘State’ means any of the several States, the District of Columbia …”); see also, e.g., 26 U.S.C. §
170(c)(1) (applying term “charitable contribution” for tax purposes to include gifts for the use of
“States, a possession of the United States … or the United States or the District of Columbia”);.
And Supreme Court Rule 47 states that “[t]he term “state court,” when used in these Rules,
includes the District of Columbia Court of Appeals.”


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given to it by the enabling statute. The preamble of the regulation cites to 28 U.S.C.

§§ 509, 510, 515(a), 516, 517, 519, 533, and 547. See 64 Fed. Reg. 19,273, 19,274

(Apr. 20, 1999). But none of these statutes even reference the District of Columbia

specifically. And these provisions say nothing about the power of D.C. Bar

authorities to sit in oversight of the discretionary actions of U.S. Justice Department

lawyers.5 The 1999 rule is thus invalid under step one of the Chevron test, which

voids regulatory interpretations of any statute that conflict with the statute’s plain

text, interpreted using “traditional tools of statutory construction.” Chevron, U.S.A.,

Inc. v. NRDC, Inc., 467 U.S. 837, 843 n.9 (1984). And the canon of interpreting

statutes as part of the corpus juris (the whole body of the law) is no doubt such a

traditional tool of statutory interpretation. See, e.g., Branch v. Smith, 538 U.S. 254,

282 (2003) (“courts do not interpret statutes in isolation, but in the context of the

corpus juris of which they are a part, including later-enacted statutes.”). The plain

text is violated here because D.C. is not a “State.”



5 The preamble of the regulation also mentions (1) Pub. L. 96-132, 93 Stat. 1040, 1044 (1979);
and (2) Pub. L. 105-277 (1998), section 102 of the Departments of Commerce, Justice and State,
the Judiciary, and Related Agencies Appropriations Act. But both of these provisions are
appropriations law limited to one-off fiscal years; they lack general effect. Moreover, the former
provision predates Section 530B(a) and the latter provision is silent on 530B(a) and thus cannot
be read to amend it. Finally, the fact that the statutes DOJ cited to extend Section 530B(a) to
District of Columbia Bar rules point to two specific appropriations statutes mentioning the District
shows that not even the DOJ of 1999 thought that it would be plausible to argue that D.C. Bar’s
rules were “local Federal court rules” within the meaning of Section 530B(a) or the preamble
would have made that argument.



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      Additionally,                                                   , the Supreme

Court decided West Virginia v. EPA,. 142 S. Ct. 2587 (2022). West Virginia is a

landmark administrative law case holding that a clear statement to delegate power is

required in a statute when the entity wielding delegated power seeks to resolve a

“major question.” Id. at 2607-08. State and local regulation of Executive Branch law

enforcement discretion in connection with the 2020 presidential election

controversies is surely such a “major question” of political significance as applied.

Indeed, even more importantly, state and local regulation of internal Executive

Branch deliberations as a general matter constitute “major questions,” id., even

putting aside the specific context of the 2020 presidential election. The major

questions doctrine operates as a kind of Chevron step zero and here, the notion that

the D.C. Bar can penetrate into and indeed take over Justice Department

deliberations flunks at that zero step, since there is no clear statement issued by

Congress that the local D.C. Bar was ever intended to possess such extraordinary

power. See also id. at 2617, 2621 (Gorsuch, J., concurring) (doctrine protects both

separation of powers and federalism).

      Accordingly, as a matter of administrative law, the D.C. Bar does not have

jurisdiction over Respondent’s conduct as described in the Charges.

      The gist of the merits arguments                                     that there

is no violation of the Rules,                     . Rule 8.4 is not violated (or even


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implicated) when a senior Justice Department attorney proposes a policy position in

a draft letter and circulates it for discussion among other senior Department of

Justice attorneys and the President of the United States (as Mr. Clark stands accused

of doing). Nor is Rule 8.4 violated (or even implicated) if that policy proposal is

rejected after those discussions and the draft letter never goes out. This is inherently

how deliberative processes work—they select one course of action and reject others.

The losing side should never be at risk of being held to be dishonest because others

on the prevailing side disagreed with the losing side’s position. It is possible for

reasonable minds to differ in their appraisals of the facts, the law and the appropriate

policy.

      Finally, even if the statute and the regulation could give the D.C. Bar general

authority over Respondent, both the statute, 28 U.S.C. 530B, and the regulation, 28

C.F.R. § 77.2(j)(2), textually limit the D.C. Bar’s jurisdiction to conduct that is

normally or ordinarily subjected to discipline. Thus, the statute, where it applies,

authorizes a State to discipline federal attorneys only “to the same extent and in the

same manner as other attorneys in that State,” while the regulation does not apply if

the local jurisdiction “would not ordinarily apply its rules of ethical conduct to

particular conduct or activity by the attorney.” (Emphasis added).

      As we have argued

                    we are unaware of any case where Rule 8.4 has been applied to


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any pre-decisional discussion among a team of lawyers concerning a proposed draft

statement of position in a letter that, for policy reasons, was never sent, much less to

a senior Senate-confirmed DOJ official engaged in law enforcement and policy

deliberations falling within the President’s core Article II authorities operating in

conjunction with the highest levels of the DOJ and with the President himself. ODC

has been repeatedly challenged to identify any such case, and has yet to do so.

          B.    OVERLAPPING ISSUES IN THE PENDING FEDERAL
                CRIMINAL INVESTIGATION.

      The D.C. Bar’s Charges allege “attempted false statements” in violation of

Rule of Professional Conduct 8.4(c), and “attempted” “serious interference with the

administration of justice” in violation of Rule 8.4(d). On June 20, 2022,

approximately a dozen armed agents of the Department of Justice’s Office of

Inspector General executed a criminal search warrant at Respondent’s home at

around 7 a.m. and seized his electronic devices. See https://tinyurl.com/nha3u4k3,

last visited Aug. 29, 2022. The statutes specified in the search warrant were 18

U.S.C. § 1001, which relates to false statements, 18 U.S.C. § 371, which relates to

conspiracy, and 18 U.S.C § 1512, which relates to obstruction of justice. The overlap

between the first and third statutes cited in the search warrant and the Charges is

readily apparent. The alleged “attempted” false statements under Rule 8.4(c)

correspond to the investigation of allegedly false statements under 18 U.S.C. § 1001,

while alleged attempted serious interference with the administration of justice under


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Rule 8.4(d) corresponds to alleged obstruction of justice under 18 U.S.C § 1512.

Both the federal criminal investigation and the Charges this case arise from or relate

to the same alleged underlying conduct. The resolution of the criminal investigation

will almost certainly help resolve material issues in this matter.

       In view of the overlapping issues, ODC’s Charges against Respondent can be

viewed as a stalking horse for potential federal criminal charges. Compelling

Respondent to defend the Charges at this time could force him to choose between

asserting his Fifth Amendment privilege against self-incrimination and mounting a

full factual defense of his license to practice law. Burdening the exercise of his

constitutional right against self-incrimination in a quasi-criminal proceeding is

unfair, unconstitutional,6 and should not be countenanced unless and until the

pending related civil and criminal matters have been resolved.

            C.     OVERLAPPING ISSUES                IN THE      JANUARY 6 COMMITTEE
                   INVESTIGATION
       The issues framed by the Charges also overlap entirely with a subset of the

issues being investigated (indeed flogged) in public hearings by the House January

6 Committee (hearings that must be deemed civil in nature). In fact, ODC seems to



6 Penalizing Respondent’s exercise of his procedural rights violates due process. See generally Ex
Parte Young, 209 U.S. 193 (1908). Additionally, forcing Respondent to choose between
observance of his Fifth Amendment rights and his law license (under challenge in a quasi-criminal
proceeding) represents an unconstitutional condition. See Griffin v. California, 380 U.S. 609, 614
(1965) (“It is a penalty imposed by courts for exercising a constitutional privilege. It cuts down on
the privilege by making its assertion costly.”).


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have concluded that the public hearings of the January 6 Committee gave it sufficient

evidence to file Charges against Respondent despite its investigation not yet being

complete and even though there is no semblance of due process, true party balance,

or cross-examination in the January 6 Committee’s one-sided, carefully

choreographed hearings. ODC is clearly relying on the incomplete version of events

set forth in the so far publicly released portions of the testimony of former Acting

Attorney General Jeff Rosen and former Acting Deputy Attorney General Richard

Donoghue as the evidentiary support for the Charges. The investigation of the

January 6 Committee is not yet complete, and the Committee and its members

regularly put out statements that they continue to collect new evidence and that

additional witnesses continue to come forward with relevant and material evidence.

And the January 6 Committee will wield power and possibly issue supplemental

findings until as late as circa January 2, 2023.

      The Committee refuses to release the full deposition transcripts of the

witnesses who have appeared before it, including the witnesses ODC will rely on to

try to prove its case. Instead, it has released only selective, cherry-picked excerpts

that advance the Committee’s favored narrative. As commentators across the

political spectrum have observed, the Committee is a political monolith, and there is

no adversary testing of any of the witnesses, any of the evidence, or any of the

Committee’s theories. The result has been a presentation that affected witnesses have


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publicly alleged was misleading or intentionally false, including testimony relating

to Respondent.7

       Respondent has compelling Sixth Amendment Confrontation Clause and Fifth

Amendment due process rights to review and dissect the full and complete

Committee deposition transcripts of the witness who may be called to testify against

him in order to prepare his cross-examination. Under the Speech and Debate Clause,

the Committee likely cannot be compelled by subpoena to release the full

transcripts.8 The Committee has unfettered discretion over whether to release the

transcripts and have indicated they will not do so until their investigation is

complete. In addition, Respondent has Fifth and Sixth Amendment rights to present

evidence over which the DOJ has asserted law enforcement privilege, see Exhibit 2,

and which also involves classified and privileged national security information about

foreign election interference Respondent is presently constrained not to disclose.9


7  See Lawyer Accuses Jan. 6 Committee Of 'False' Accusations and Mischaracterizations,
https://www.washingtonexaminer.com/news/ken-klukowski-rips-jan-6-committee-false-
accusations-mischaracterizations; Trump White House Attorney Disputes Cassidy Hutchinson's
Testimony About Handwritten Note, https://abcnews.go.com/US/trump-white-house-attorney-
disputes-cassidy-hutchinsons-testimony/story?id=85898838; Secret Service Reportedly Denies
Cassidy Hutchinson’s Jan. 6 Tale, https://www.washingtontimes.com/news/2022/jun/28/secret-
service-denies-cassidy-hutchinson-jan-6-tal/, last visited Aug. 25, 2022.
8 Cf. Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 501-501 (1975) (“Without exception our
cases have read the Speech and Debate Clause broadly to effectuate its purposes. … The purpose
of the Clause is to insure that the legislative function the Constitution allocates to Congress can be
performed independently.”)
9 For this reason, recent revelations that the FBI interfered in the 2020 election (by visiting one or
more social media companies), based on the false premise that Hunter Biden’s laptop was “Russian



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       On first principles, Respondent cannot get a fair hearing before the Hearing

Committee until he has access to the documents and transcripts necessary to his

defense. It is therefore both necessary and helpful to the Board and the Hearing

Committee to defer these proceedings until the related proceedings have been

concluded and all necessary documents to which Respondent is entitled for his

defense become available to him.

           D.     OVERLAPPING ISSUES IN THE FULTON COUNTY, GEORGIA
                  SPECIAL GRAND JURY INVESTIGATION.

       A special grand jury has been empaneled in Fulton County Georgia to

investigate what the District Attorney refers to as attempts to influence the

November 2020 Presidential election. The Special Grand Jury has cast a very wide

net, subpoenaing dozens of lawyers, Republican presidential electors, state officials,

and others. While the Special Grand Jury has not yet contacted Respondent (though

it has contacted Dr. John Eastman, whose phone was also seized by the DOJ OIG on

the same day as Respondent’s electronics), an overlap between that investigation of

events in Georgia and the Charges in this case seems likely in that the pre-decisional

draft letter that is the focus of the Charges was marked for delivery to state officials

in Georgia.


misinformation” may also become relevant to these proceedings. See Thomas Barrabi, Mark
Zuckerberg Tells Joe Rogan Facebook Was Wrong to Ban the Post’s Hunter Biden Laptop Story,
NEW YORK POST (Aug. 25, 2022), last visited Aug. 29, 2022 (“[Zuckerberg] said the platform
opted to limit sharing on the story — but not halt it entirely — after the FBI told Meta employees
to be wary of Russian propaganda ahead of the election”) (emphasis added).


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        II.   RESOLUTION OF OVERLAPPING LEGAL AND FACTUAL
              ISSUES IN                   AND THE RELATED
              CONGRESSIONAL AND CRIMINAL INVESTIGATIONS WOULD
              BE HELPFUL AND WARRANTS DEFERRAL.

        The constitutional, statutory and administrative law arguments described

above




                                     . It would thus be helpful to the Board




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      Similarly, the Charges pending here arise from and relate to the same conduct

currently under investigation by the DOJ OIG, an investigation being carried out

with criminal search warrants and seizure of electronic records.

      The Charges also entirely overlap with a subset of issues being investigated

and publicized by the January 6 Committee. In fact, the Charges appear to be based

on testimony publicized by the January 6 Committee, even though that testimony is

cherry-picked, incomplete, and was not developed through any adversary process—

and even though the full transcripts of the witnesses are not available as long as the

Committee’s investigation remains open.

      There is also a likely overlap with the investigation of the Special Purpose

Grand Jury in Fulton County, Georgia.

      The outcome of                                  d the pending related civil and

criminal investigations will likely be helpful to the Board in this case. Therefore,

deferral should be ordered pursuant to Rule 4.2.

      Finally, deferral would work no prejudice to the D.C. Bar, the interests of

justice, or the public interest. The only urgency associated with this case is drawn—

improperly—from the politicized context from which it emerges. The D.C. Bar does

not normally commence




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                                                                  , Senator Richard

Durbin. ODC then rushed to bring charges

                 , relying on cherry-picked evidence presented at the hyper-

politicized January 6 Committee show-trial hearings. ODC attempted to serve the

Charges by ambush the day before the second of the January 6 Committee’s prime-

time televised hearings. The exigencies of the political calendar should have no

effect on these proceedings. No politically motivated rush to judgment should be

allowed to prejudice Respondent’s constitutional rights.

                                 CONCLUSION

      Granting the request for deferral would avoid the risk of an outcome

inconsistent with that of the related pending civil, criminal, and congressional

proceedings which have jurisdictional primacy over this forum.



                                                                           to avoid

infringing the important constitutional and jurisdictional interests that are so

prominent in this case, the request to defer should be granted.

      Respectfully submitted this 29th day of August, 2022.

/s/ Charles Burnham                        Robert A. Destro*
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               CERTIFICATE OF COMPLIANCE WITH
                                RULE 19.8(C)

      This document complies with the length and format requirements of Board

Rule 19.8(c) because it contains 6,582 words, including footnotes, is double-spaced,

with one-inch margins, on 8½ by 11-inch paper. I am relying on the word-count

function in Microsoft Word in making this representation.


                                      /s/ Charles Burnham
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                       CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this Request For Board Rule 4.2 Deferral Of Proceeding by U.S. First

Class Mail with sufficient postage thereon to insure delivery, and by email addressed

to:

      Hamilton P. Fox
      Jason R. Horrell
      horrellj@dcodc.org
      Office of Disciplinary Counse, D.C. Bar
      Building A, Room 117
      515 5th Street NW
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      foxp@dcodc.org

      This 29th day of August, 2022.


                                       /s/ Charles Burnham
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                            Respectfully submitted,

                            Hamilton P. Fox, III
                            ______________________________
                            Hamilton P. Fox, III
                            Disciplinary Counsel
                            Bar Registration No. 113050


                            /s/ Jason R. Horrell ______________
                            Jason R. Horrell
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                             CERTIFICATE OF SERVICE

        I hereby certify that on this 16th day of March, 2022, I caused a copy of the

foregoing

          to be served on the Respondent’s counsel, Harry W. MacDougald, Esq., by

email to hmacdougald@CCEDlaw.com, and by first-class U.S. mail to Harry W.

MacDougald, Esq., Caldwell, Carlson, Elliott & DeLoach, LLP, Two Ravinia Drive,

Suite     1600,   Atlanta,    GA   30345,        to     Robert    Destro   via   email   at

Robert.destro@protonmail.com,       and     to        Charles    Burnham   via   email   at

charles@burnhamgorokhov.com.



                                                  Hamilton P. Fox, III
                                                  ______________________________
                                                  Hamilton P. Fox, III




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    w                                                                    U.S. Department of Justice

                                                                      Office of the Deputy Attorney General

    Bradley Weinsheimer                                                  Washington, D.C. 20530
    Associate Deputy Attorney General

                                                                         July 26, 2021

Jeffrey B. Clark
Lorton, VA
Via email to Counsel

Dear Mr. Clark:

        The Department of Justice (Department) understands that you have been requested by the
U.S. House of Representatives Committee on Oversight and Reform (House Oversight
Committee), and the U.S. Senate Judiciary Committee to provide transcribed interviews to the
Committees relating to your service as Assistant Attorney General for the Environment and
Natural Resources Division and Acting Assistant Attorney General for the Civil Division. In
these interviews, you are authorized to provide information you learned while at the Department
as described more fully below.

           According to information provided to you and the Department by the House Oversight
Committee, its focus is on "examining President Trump's efforts to pressure the Department of
Justice (DOJ) to take official action to challenge the results of the presidential election and
advance unsubstantiated allegations of voter fraud." 1 The House Oversight Committee has stated
that they wish to ask you questions "regarding any efforts by President Trump and others to
advance unsubstantiated allegations of voter fraud, challenge the 2020 election results, interfere
with Congress's count of the Electoral College vote, or overturn President Biden's certified
victory. " 2

        Based upon information provided to you and to the Department from the Senate Judiciary
Committee, the Department understands that the scope of that Committee's inquiry is very
similar to that of the House Oversight Committee. The letter to the Department dated January
23, 2021, explained that the Senate Judiciary Committee is conducting oversight into public
reporting about "an alleged plot between then-President Donald Trump and [you] to use the
Department of Justice to further Trump's efforts to subvert the results of the 2020 presidential
election"-events that the letter described as raising "deeply troubling questions regarding the
Justice Department's role" in those purported efforts. 3 In addition, the Senate Judiciary

1
  Letter from Carolyn B. Maloney, Chairwoman, House Committee on Oversight and Reform, to Jeffrey B. Clark,
June 14, 2021.
z Id.
3
 Letter from Richard J. Durbin et al., Senate Judiciary Committee, to Monty Wilkinson, Acting Attorney General,
Dep't of Justice, January 23, 2021, at I, https://www.judiciary.senate.gov/press/dem/releases/senate-judiciary-
committee-democrats-seek-answers-about-dojs-role-in-trumps-scheme-to-overtum-the-2020-election.




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Committee has represented to the Department that the scope of its interview will cover your
knowledge of attempts to involve the Department in efforts to challenge or overturn the 2020
election results. This includes your knowledge of any such attempts by Department officials or
by White House officials to engage in such efforts. The Committee has further represented that
the time frame for its inquiry will begin following former Attorney General William Barr's
December 14, 2021, resignation announcement.

        Department attorneys, including those who have left the Department, are obligated to
protect non-public information they learned in the course of their work. Such information could
be subject to various privileges, including law enforcement, deliberative process, attorney work
product, attorney-client, and presidential communications privileges. The Department has a
longstanding policy of closely protecting the confidentiality of decision-making communications
among senior Department officials. Indeed, the Department generally does not disclose
documents relating to such internal deliberations. For decades and across administrations,
however, the Department has sought to balance the Executive Branch's confidentiality interests
with Congress's legitimate need to gather information. 4

         The extraordinary events in this matter constitute exceptional circumstances warranting
an accommodation to Congress in this case. Congress has articulated compelling legislative
interests in the matters being investigated, and the information the Committees have requested
from you bears directly on Congress's interest in understanding these extraordinary events:
namely, the question whether former President Trump sought to cause the Department to use its
law enforcement and litigation authorities to advance his personal political interests with respect
to the results of the 2020 presidential election. After balancing the Legislative and Executive
Branch interests, as required under the accommodation process, it is the Executive Branch's
view that this presents an exceptional situation in which the congressional need for information
outweighs the Executive Branch's interest in maintaining confidentiality.

        The Executive Branch reached this view consistent with established practice. Because of
the nature of the privilege, the Department has consulted with the White House Counsel's Office
in considering whether to authorize you to provide information that may implicate the
presidential communications privilege. The Counsel's Office conveyed to the Department that
President Biden has decided that it would not be appropriate to assert executive privilege with
respect to communications with former President Trump and his advisors and staff on matters
related to the scope of the Committees' proposed interviews, notwithstanding the view of former
President Trump's counsel that executive privilege should be asserted to prevent testimony
regarding these communications. See Nixon v. Administrator of General Servs., 433 U.S. 425,
449 (1977) ("[I]t must be presumed that the incumbent President is vitally concerned with and in
the best position to assess the present and future needs of the Executive Branch, and to support

4
  See Letter for Rep. John Linder, Chairman, Subcommittee on Rules and Organization, from Robert Raben,
Assistant Attorney General, Office of Legislative Affairs at 2 (Jan. 27, 2000) ("Linder Letter") ("In implementing
the longstanding policy of the Executive Branch to comply with Congressional requests for information to the fullest
extent consistent with the Constitutional and statutory obligations of the Executive Branch, the Department's goal in
all cases is to satisfy legitimate legislative interests while protecting Executive Branch confidentiality interests.").
                                                           2
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invocation of the privilege accordingly."); see also id (explaining that the presidential
communications privilege "is not for the benefit of the President as an individual, but for the
benefit of the Republic") (internal citation omitted).

        Therefore, given these extraordinary circumstances, including President Biden's
determination on executive privilege, and having reviewed the scope of the Committees'
requested interviews, the Department authorizes you to provide unrestricted testimony to the
Committees, irrespective of potential privilege, so long as the testimony is confined to the scope
of the interviews as set forth by the Committees and as limited in the penultimate paragraph
below. 5 This accommodation is unique to the facts and circumstances of this particular matter
and the legislative interests that the Committees have articulated.

        Consistent with appropriate governmental privileges, the Department expects that you
will decline to respond to questions outside the scope of the interview as outlined above and
instead will advise the Committees to contact the Department's Office of Legislative Affairs
should they seek information that you are unable to provide.

        Please note that it is important that you not discuss Department deliberations concerning
investigations and prosecutions that were ongoing while you served in the Department. The
Department has a longstanding policy not to provide congressional testimony concerning
prosecutorial deliberations. If prosecutors knew that their deliberations would become "subject
to Congressional challenge and scrutiny, we would face a grave danger that they would be
chilled from providing the candid and independent analysis essential to just and effective law
enforcement or, just as troubling, that they might err on the side of prosecution simply to avoid
public second-guessing." Linder Letter. Discussion of pending criminal cases and possible
charges also could violate court rules and potentially implicate rules of professional conduct
governing extra-judicial statements. We assume, moreover, that such Department deliberations
are not within the scope of the requested testimony as defined by the Committees.

        Accordingly, consistent with standard practice, you should decline to answer any such
questions and instead advise the Committees to contact the Department's Office of Legislative
Affairs if they wish to follow up on the questions. Responding in such a way would afford the
Department the full opportunity to consider particular questions and possible accommodations
that may fulfill the Committees' legitimate need for information while protecting Executive
Branch confidentiality interests regarding investigations and prosecutions.




5
 You are not authorized to reveal information the disclosure of which is prohibited by law or court order, including
classified information and information subject to Federal Rule of Criminal Procedure 6(e).

                                                          3
